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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UNITED STATES COMMODITY                        §
FUTURES TRADING COMMISSION,                    §
                                               §
                  Plaintiff,                   §
                                               §
v.                                             §          Civil Action No. A-12-CV-0862-LY
                                               §
SENEN POUSA, INVESTMENT                        §
INTELLIGENCE CORPORATION,                      §
DBA PROPHETMAX MANAGED FX,                     §
JOEL FRIANT, MICHAEL DILLARD, and              §
ELEVATION GROUP, INC.,                         §
                                               §
                  Defendants.                  §

               ORDER GRANTING RECEIVER’S UNOPPOSED
     MOTION FOR JOINT ADMINISTRATION OF RECEIVERSHIP ASSETS AND
                APPROVAL OF SEVENTH FEE APPLICATION

       Before the Court is the Receiver’s Unopposed Motion for Joint Administration of

Receivership Assets and Approval of Seventh Fee Application and Brief in Support (“Motion”).

Having considered the Motion, the evidence presented, and arguments of counsel, if any, the Court

finds that the time spent, services performed, hourly rates charged, and expenses incurred by the

Receiver and his retained professionals were reasonable and necessary for the Receiver to perform

his Court-ordered duties. The Court further finds that the ProphetMax Receivership Estate and

related IB Capital Receivership Estate should be jointly administered. The Court concludes that

the Motion should be, and is hereby, GRANTED.

       It is therefore ORDERED that payment for interim fees and expenses of $29,552.77 to the

Receiver, interim fees and expenses of $17,503.56 to the law firm of Hohmann, Brophy & Shelton,

PLLC and interim fees and expenses of $20,468.95 to the law firm of Eversheds B.V. for services
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rendered to the ProphetMax Receivership Estate and IB Capital Receivership Estate during the

Seventh Fee Period is approved.

       SIGNED this           day of                            , 2017.




                                                 LEE YEAKEL
                                                 UNITED STATES DISTRICT JUDGE
